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 7
 8                         UNITED STATES DISTRICT COURT
 9
                          NORTHERN DISTRICT OF CALIFORNIA

10    SCOTT JOHNSON,                            Case: 5:20-cv-08266-BLF
11                Plaintiff,
      v.                                        Plaintiff’s Notice of Voluntary
12                                              Dismissal Of Defendant Thuy
                                                Truong only With Prejudice
13    BRANHAM CENTER LLC, a
14    California Limited Liability
      Company; and THUY TRUONG; and             Fed. R. Civ. P. 41(a)(1)(A)(i)
15    Does 1-10,
16
               Defendants.
17
18           PLEASE TAKE NOTICE that Plaintiff Scott Johnson, hereby
19   voluntarily dismisses Defendant Thuy Truong only, with prejudice pursuant
20   to Federal Rule of Civil Procedure 41(a)(1)(A)(i).
21           Defendant THUY TRUONG, has neither answered Plaintiff’s
22   Complaint, nor filed a motion for summary judgment. Accordingly, this
23   Defendant may be dismissed without an Order of the Court.
24
25   Dated: June 29, 2021                CENTER FOR DISABILITY ACCESS
26
27                                       By: /s/ Amanda Seabock
28
                                            Amanda Seabock
                                            Attorneys for Plaintiff


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     Notice of Voluntary Dismissal                                         5:20-cv-08266-BLF
